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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HONORABLE JEFFREY P.                              :
MINEHART,                                         :
          Plaintiff,                              :
                                                  :            CIVIL ACTION
               v.                                 :            No. 17-3349
                                                  :
ANN MCELHINNY, et al.,                            :
                                                  :
                                                  :
               Defendants.                        :


February 14, 2018                                                                 Anita B. Brody, J.

                                 EXPLANATION AND ORDER


       Plaintiff Jeffrey P. Minehart, a judge in the Court of Common Pleas of Philadelphia

County and a Pennsylvania citizen, filed suit in the same court against Defendants Ann

McElhinny, Phelim McAleer, Ann & Phelim Media, Salem Media Group, Inc., Regnery

Publishing and Pennsylvania Media Associates, Inc. (collectively, “Defendants”).1 Judge

Minehart asserts claims arising out of the publishing, marketing and distribution of a book that

contains allegedly defamatory material. Two of the Defendants removed this action with the

consent of the remaining defendants, alleging that diversity jurisdiction exists because the sole

non-diverse defendant, Pennsylvania Media Associates, Inc. (“PMA”) was fraudulently joined.

PMA is named in two counts of the four-count Complaint: Count III, that requests a mandatory

permanent injunction; and Count IV, that asserts a claim of civil conspiracy. Judge Minehart

filed a Motion for Remand that Defendants opposed. The civil conspiracy claim was the one in

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  In the Notice of Removal, Defendants Salem Media Group, Inc. and Regnery Publishing state that the
proper name for “Ann & Phelim Media” is “Ann and Phelim Media, LLC” and that Regnery is the
registered trade name of Caron Broadcasting, Inc. Notice of Removal 1, ECF No. 1.

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dispute. I granted Judge Minehart’s Motion for Remand, finding, in relevant part, that the civil

conspiracy claim against PMA was “colorable” and that Defendants had not met their “heavy

burden” of demonstrating that PMA was fraudulently joined.2 See Mem. 10, 14-15, ECF No. 31.

        Defendants filed a motion seeking reconsideration of my decision granting Plaintiff’s

Motion for Remand, or in the alternative, for certification of the decision for interlocutory

appeal. Defs.’ Mot. for Reconsideration, ECF No. 34. The filing of this motion prompted my

review of the record in this case. As a result of this review, and independent of the arguments

made in Defendants’ motion, I now reconsider my decision to remand.

        In the Third Circuit, “so long as the district court has jurisdiction over the case, it

possesses inherent power over interlocutory orders, and can reconsider them when it is consonant

with justice to do so.” U.S. v. Jerry, 487 F.2d 600, 605 (3d Cir. 1973). Remand orders are

interlocutory. Spring City Corp. v. Am. Bldgs. Co., 193 F.3d 165, 170 (3d Cir. 1999). When a

remand order has been issued by the district court, the district court retains jurisdiction over the

remanded case until a certified copy of the remand order is sent to the state court. Agostini v.

Piper Aircraft Corp., 729 F.3d 350, 355-56 (3d Cir. 2013). I have retained jurisdiction over this

matter because a certified copy of the remand order has not been sent to the Court of Common

Pleas. See Order, ECF No. 33 (ordering the Clerk’s Office to refrain from mailing a certified

copy of the remand order to the Philadelphia Court of Common Pleas until further notice).

Therefore, I may reconsider my decision to remand this case, provided that it is “consonant with


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  “Joinder is fraudulent ‘where there is no reasonable basis in fact or colorable ground supporting the
claim against the joined defendant, or no real intention in good faith to prosecute the action against the
defendants or seek a joint judgment.’” Batoff v. State Farm Ins. Co., 977 F.2d 848, 851 (3d Cir. 1992)
(quoting Boyer v. Snap-on Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990)). A claim is not colorable if it
is “wholly insubstantial and frivolous.” Batoff, 977 F.2d at 852. The removing party bears a “heavy
burden of persuasion” in showing that the non-diverse party was fraudulently joined. Id. at 851. A
district court must assume all factual allegations in the complaint are true and must resolve all
uncertainties as to the current state of controlling substantive law in favor of the plaintiff. Id. at 851-52.

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justice to do so.” Jerry, 487 F.2d at 605. For the reasons that follow, I am convinced that it is

“consonant with justice” to reconsider this decision.

       In Pennsylvania, “[p]roof of malice, i.e., an intent to injure, is essential in proof of a

conspiracy. This unlawful intent must be absent justification.” Thompson Coal Co. v. Pike Coal

Co., 412 A.2d 466, 472 (Pa. 1979) (internal citations omitted). In opposing remand, Defendants

argued that in order to allege malice, it must be alleged that the “sole purpose” of the conspiracy

was to injure Judge Minehart, and the civil conspiracy claim was not colorable because the

Complaint alleges other purposes of the conspiracy beyond injuring Judge Minehart. Defs.’

Opp. to Pl.’s Mot. to Remand 10-13, ECF No. 23 (“Defs.’ Opp.”). In holding that the claim was

“colorable,” I noted that district courts in Pennsylvania have expressed doubt as to whether,

under Pennsylvania law, the “sole purpose” of a civil conspiracy must be to injure the plaintiff.

See Mem. 8-9. In one such case, Ozburn-Hessey Logistics, the Hon. Luis Felipe Restrepo, sitting

as a district court judge, stated that decisions applying the “sole purpose” requirement rely on

Thompson Coal Co., which “does not address whether defendants may be liable if they act with

mixed motives.” Ozburn-Hessey Logistics, LLC v. 721 Logistics, LLC, 40 F. Supp. 3d 437, 454

n. 4 (E.D. Pa. 2014). Likewise, in Daniel Boone Area Sch. Dist., a district court upheld a claim

of civil conspiracy at the motion to dismiss stage, finding that malice had been adequately

alleged where it could be inferred that the plaintiff’s injuries were “not simply an accidental side-

effect” of the defendant’s otherwise legitimate business interests. Daniel Boone Area Sch. Dist.

v. Lehman Bros., Inc., 187 F. Supp. 2d 400, 412 (W.D. Pa. 2002). In my former opinion

regarding remand, I found that the claim of civil conspiracy asserted against PMA was colorable

under either the Ozburn-Hessey Logistics or Daniel Boone Area Sch. Dist. interpretations of the

Thompson Coal Co. malice requirement. See Mem. 9. In order for the civil conspiracy claim to



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be colorable under either analysis, however, it must be alleged that at least one purpose of the

conspiracy was to injure Judge Minehart.

       Upon review of the transcript of the oral argument held on Judge Minehart’s Motion for

Remand,3 I realized that counsel for Judge Minehart had explicitly disclaimed that any purpose

of the civil conspiracy was to injure Judge Minehart. Counsel for Judge Minehart stated that:

       The sole purpose of this book, and this conspiracy, was to advance this anti-
       abortion agenda. And in advancing that agenda, they defamed Judge Minehart.
       But there’s no question but that the sole purpose, or the only purpose of this
       conspiracy was to advance that anti-abortion agenda. That’s the sole
       purpose. But there’s no requirement in the law for a sole purpose.

       Transcript of Rule 16 Conference (“Oral Arg. Tr.”) 26:11-17 (emphasis added).

       Counsel for Judge Minehart later continued:

       And bear in mind, Judge, we didn’t just name PMA as if, oh they carried a
       billboard or an advertisement, they must be liable. No. That’s not what this is
       about. If you look at the complaint carefully, Your Honor, you’re going to see
       dozens, maybe more, specific instances that we cite, where PMA was working
       with these two authors to promote this book, and to promote the agenda that this
       book represents.

       Oral Arg. Tr. 27:23-28:6.

       Counsel for PMA responded that the admission that the only purpose of the conspiracy

was to advance an anti-abortion agenda demonstrated that the claim of civil conspiracy was not

colorable. See Oral Arg. Tr. 28:9-14 (“That alone, that’s enough for us to be out. He can’t - -

there is no colorable ground where the sole - - he - - and this is what [counsel for Judge

Minehart] said, and it’s in his papers, the sole purpose is to advance a conservative agenda. That

is a completely legal First Amendment protected right . . . .”).

       The Third Circuit has stated that “a court can look to more than just the pleading

allegations to identify indicia of fraudulent joinder.” In re Briscoe, 448 F.3d 201, 219 (3d Cir.
3
 Following full briefing on Judge Minehart’s Motion for Remand, oral argument was held on the motion
at the Rule 16 conference on October 10, 2017.

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2006). Here, a review of the record makes clear that counsel for Judge Minehart expressly stated

to the Court that the only purpose of the civil conspiracy was to advance an anti-abortion agenda.

Therefore, no purpose of the civil conspiracy was to injure Judge Minehart. In light of this fact,

my previous finding that the claim of civil conspiracy is colorable pursuant to the Ozburn-Hessey

Logistics or Daniel Boone Area Sch. Dist. analyses is unsupported. As counsel for PMA stated

on the record, because the only purpose of the conspiracy was to promote an anti-abortion

agenda, the claim of civil conspiracy is not colorable. As a result, Defendants have met their

“heavy burden” of demonstrating that PMA was fraudulently joined.4

          Because review of the record in this case reveals that the civil conspiracy claim is not

colorable, it is “consonant with justice” for me to reconsider my previous decision to the

contrary. Jerry, 487 F.2d at 605. The Third Circuit has instructed that if a district court finds

fraudulent joinder, the court can disregard, for jurisdictional purposes, the citizenship of the non-

diverse defendant, assume jurisdiction over the case, dismiss the non-diverse defendant, and

thereby retain jurisdiction. In re Briscoe, 448 F.3d at 216. Having determined that PMA was

fraudulently joined, I will dismiss PMA from this action and thereby retain jurisdiction over this

action.




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 As Defendants have stated, injunctive relief is a remedy and not an independent cause of action. See,
e.g., Birdman v. Office of the Governor, 677 F.3d 167, 172 (3d Cir. 2012); Davis v. Corizon Health, Inc.,
No. 14-1490, 2014 WL 5343617, at * 2 (E.D. Pa. Oct. 21, 2014); Notice of Removal ¶ 30; Defs.’ Opp. 5
n. 3. Therefore, the request for mandatory permanent injunction (Count III) does not present a colorable
claim.

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                                           ORDER

AND NOW, this __14th__ day of February, 2018, it is ORDERED that:

   (1) This Court’s November 28, 2017, Memorandum and Order (ECF Nos. 31 & 32) is

      VACATED;

   (2) Plaintiff’s Motion for Remand (ECF No. 21) is DENIED;

   (3) Defendant Pennsylvania Media Associates, Inc. is DISMISSED from this action WITH

      PREJUDICE; and

   (4) Defendants’ Motion for Reconsideration of the Court’s Order and Opinion Granting

      Plaintiff’s Motion to Remand or, in the Alternative, to Certify the Issue for Interlocutory

      Appeal (ECF No. 34) is DENIED AS MOOT.

                                                    s/Anita B. Brody

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                                            ANITA B. BRODY, J.


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